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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. EDCV 11-1565-JST (Ex)                                           Date: October 13, 2011
Title: Elias, Elliott, Lampasi, etc. v. American Dental Partners, et al.

Present: Honorable JOSEPHINE STATON TUCKER, UNITED STATES DISTRICT JUDGE

      Ellen Matheson                                                    N/A
      Deputy Clerk                                                 Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                ATTORNEYS PRESENT FOR DEFENDANT:

       Not Present                                                 Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER STRIKING DEFENDANTS’
             MOTION TO DISMISS AND TO COMPEL ARBITRATION
             (Doc. 6) FOR FAILURE TO COMPLY WITH LOCAL RULE
             7-3

       On October 7, 2011, Defendants filed a Motion to Dismiss and to Compel
Arbitration. (Doc. 6.)

        The Court finds this matter appropriate for decision without oral argument. Fed.
R. Civ. P. 78; C.D. Cal. R. 7-15. The Court finds that Defendants failed to comply with
Local Rule 7-3; therefore Defendants’ Motion to Dismiss and to Compel Arbitration.
(Doc. 6) is STRICKEN. Accordingly, the hearing set for November 28, 2011, at 10:00
a.m. is VACATED.

       Under Local Rule 7-3, “counsel contemplating the filing of any motion shall first
contact opposing counsel to discuss thoroughly, preferably in person, the substance of the
contemplated motion and any potential resolution.” C.D. Cal. R. 7-3. A district court has
the discretion to deny a motion that fails to comply with the local rules. See Christian v.
Mattel, Inc., 286 F.3d 1118, 1129 (9th Cir. 2002) (“The district court has considerable
latitude in managing the parties’ motion practice and enforcing local rules that place
parameters on briefing.”); Hinton v. Pac. Enters., 5 F.3d 391, 395 (9th Cir. 1993) (“A
determination of compliance with local rules is reviewed under an abuse of discretion
standard.” (citing Yagman v. Republic Ins., 987 F.2d 622, 630 (9th Cir. 1993))).

       The purpose of Local Rule 7-3 is to help the parties “reach a resolution which
eliminates the necessity for a hearing . . . .” C.D. Cal. R. 7-3. If the parties are unable to

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resolve their differences and are forced to bring the matter before the court, counsel for
the moving party must include in the notice of the motion, a statement to the effect that
“[t]his motion is made following the conference of counsel pursuant to L.R. 7-3 which
took place on (date).” Id.

        Here, Defendants did not include any evidence of compliance with Local Rule 7-3
in their Notice of Motion and Motion to Dismiss and to Compel Arbitration. Any future
filing must reflect that the parties meaningfully conferred, preferably in person but at the
very least, by telephone. Therefore, the Court STRIKES Defendants’ Motion to Dismiss
and to Compel Arbitration.




                                                             Initials of Preparer: enm




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